

Goldberg v Torim (2023 NY Slip Op 05097)





Goldberg v Torim


2023 NY Slip Op 05097


Decided on October 10, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 10, 2023

Before: Manzanet-Daniels, J.P., Gesmer, González, Kennedy, O'Neill Levy, JJ. 


Index No. 151425/18 Appeal No. 738 Case No. 2023-01475 

[*1]David Goldberg, Plaintiff-Respondent,
vShloime Torim, Defendant, Leah Torim, Defendant-Appellant.


Ershowsky Verstandig PLLC, Lawrence (Michael B. Ershowsky of counsel), for appellant.
Jonathan E. Neuman, Fresh Meadows, for respondent.



Order, Supreme Court, New York County (Francis A. Kahn, III, J.), entered on or about January 9, 2023, which denied defendant Leah Torim's motion to dismiss the amended complaint as against her as time-barred, unanimously affirmed, with costs.
Plaintiff's cause of action for conversion as against defendant was not time-barred because the claim against defendant related back to the conversion claim asserted against codefendant, Shloime Torim, in the original complaint. Although we agree that the two defendants were not "united in interest" solely because they are husband and wife, the complaint adequately alleges an agency relationship between the two defendants sufficient to impose vicarious liability on defendant for codefendant's acts, including but not limited to Leah having allegedly forged plaintiff's signature on a deed as Shloime's agent and transferring and selling the property in furtherance of the underlying conversion (see CPLR 203[b], [c]; Higgins v City of New York, 144 AD3d 511, 513 [1st Dept 2016]; LeBlanc v Skinner, 103 AD3d 202, 210 [2d Dept 2012]).
&nbsp;THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 10, 2023








